Case 2:09-md-02047-EEF-MBN Document 428-6 Filed 11/10/09 Page 1 of 9

RPa ee ee ge ene eae tetas ny as

BON DED BUILDERS 1. Centificate Number
HOME WARRANTY ASSOCIATION "20084

rove sasesrnes taco paserreacoitcre-osa NAMI
Builders Application for New Home Warranty Coverape . QuDtd
EXPRESS LIMITED WARRANTY APPLICATION til fA | i tt ll il

IN FLORIDA A HOME WARRANTY MAY NOT PROVIDE LISTING PERIOD FREE OF CUARGE

ant; This document is a pari of the new home warranty policy and the Homeowner mast receive a co y. Copies of all contract
addenda must be attached to this form if items of maicrial or work were not provided by the builder. Material and or labor provided by
the home purchaser are excluded Front this warranty as shown on the attached ad enda. ,

Builder acknowledges thut a copy of this document has heen provided to the home Weer. Ligase tyne or Print Legibly

2. Builder: Sunnse Congtecnon 3. Mavelourent ibis. Signe: Se ve yet Date: 2/18¢37

3}. Where applicable enter your authorized RM number: 44g , =.

i '
4. Check ONLY the type of warranty the customer is to receive, §. Total Warranty Period: Years (MRT ti Cl

AA Wet Et yen sua inal oti

AR weul GHA CA PATA Mihines 62 yous Sncaurads TRAM vs Marltey Ane

6. Homeowner: Tmothy Slay Parry Spouse/Other: tracy \. Perry

7. Street Address: 15199 destin Coys Unita*__ New Phone #: 28 JAesh ds
CHY gait port  ea., County: ~dtarrison.._..... State: MS ip Code: 39503

8. Subdivisinn Name: 4 hands t: :

Winn YF
ai ate 3

- bore: RT Block #: wee ee
9. Check One: & Singie Family Detac 2 Conde n (2 story oF dess)*
* If condonnaium, hist effective date of comunon ctements covers ~... Coverage for common elements shall

commence on the date the primary étructare neqising individual units is completed and common elements coverage on individual units
closing after the etfective date listed above will not be extended beyand the covered years,

JQ. Please check the applicable box as to the construction of the house: © Stick Built 9 Systems Built - MFG Job a _
0 HUD Built (tf HUD Built is checked you must attach a copy of the foundanon inspection teport from a licensed authority Stating
the foundation meets or exceeds HUD spevifications.)

11. Mailing address Ifother than above:

12, Closing contract price: $s asc on eee eee 13. Closing Date: abousry 1h. 2507

14. Mongagee: _Anarica's elude, Resaurse. [nt Loan ¥: 0081557140 PUA
AdGress! 3M ES Lil Secview. Goad, Suste 2c vote ee VA eases

City, State, Zip Code. et wy

a PY
eee Nae we MRE Ba nee eee eee - Se cette ee me,

16.1 acknowledge reevipt of the Warranty Documents and Building Standards as indicated,
OArContract  & At Closing O At Walk Through / Orteatation

17. Homeowner Signaturetsy Jy steers atte ett eee ne [ty te pe! ye
This document prepared by: ‘3. it cee vee . 18.Phone:  ?23- io2-7603

° Hitters Repeesentative ,

Lnstructions: Applications not received by BRHWA along with required tremlum within 20_DAYS of closing are NOT VALID and
will he vatded, Mail the original (white copy) with paynient to ABHWA; give the pink copy to the Homeowner and keep the canary copy
for your files. Should ae error occur do not destroy this aumbered form. Mark it void and mail to BBHWA where it will be deleted
fromm the Depariment of Insurance registry and fram the numbered forms igned to the builder, Premium due ig based on contract price.

Certain items and events sre not covered by this warranty. Please refer to the exclusions listed in your warranty
document tn the section titled “EXCLUSIONS",

BB-220 (Rev 9195) WhiteCup, BRNWA - Canary Copy + BuikfersFinancial © tak Capy » Hamenwage

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So ne aie ene ate oe em ee

HOMEOWNER'S ACKNOWLEDGEMENT. fe os Ploase road coretully bofore signing the application.

this Applicaton and the warranty enrcitment fee, BBWG wil issue and mail to me/us the Warranty Oncumonts Upon
; Myrour receipt of the final Warranty Documents twe understand we will have 30 days lo review the warranty terms and
' sondtions and taturn it for cancellation ¢f not compistely satisfied (In the event of FHA, VA or Rural Development
' Grancing, Hwe understaid the waranty Cannot be cancelled). Sheuld wwe choose not to return the warranty for

vancedatoa within the 30-day period, Uwe hereby waive the right to later assert any inapplicability of the terms and
conditions of the Warranty Document. Nwe aiso acknowledge that, if my/our home is enroiled in the BBWG Warranty
: Program that we hereby accept the terms and conditions contained theroin in their entirety including but not
, fimited to the exctusive, final and binding alternative dispute resolution processes, including but not limited to

; arbitration, contained therein. By accepting this warranty. twe aro agreeing to waive my/our right to a trial by .

| We ackrowiedge and understand that aniy upon Bonded Builders Warranty Group's (BBWG) receipt and acceptance of

> either judge or jury in a court of law. UWe further agree that any claims to be filed under the Warranty Document |

will not be filed as a class action fawsuit or be subject to any class action litigation. BBWG and twe ;

: acknowledge that class action treatment of a claim under the Warranty Document is strictly prohibited. (Binding
‘ nature of the arbitration not applicabte in Florida. tf home is FHAIVA or Rural Development financed judicial
remedy prior to binding arbitration is not waived).

\WVe tunher understand that the Warranty Lint, the maximum Sggregato total amount BBWG is liable for under the
warrenty for all ciaims may do less than the Closing Contract Price of he Hame. The Warranty Limit will be shown in the
Warranty Document

UWe further understand thal ff and when the new home watranty Is issued, i is an Express Limited Warranty, NOT on
insurance palicy and any and ail claims. whether contractunl or olherwise, are controltad by the express terms,
conditions and exclusions contained in the Warranty Document.

IN TEXAS. We further acknowletge and understand that the warranty issued shall compiy with the Rules and
Regulations promulgated by the Texas Residential Construction Commission (TRCC) inciuding but not limited to the
Limited Statutory Warranty And Building Performance Standards effective June 1. 2005. To the extent of conflict between
‘the warranty standards in the BBWG Home Warranty Documents and the standards promulgated by Ihe TRCC, the
TRCC's standards and warranty terms shail cantrof the Builder's liability. Hawever, in all cases, the terms and condilians
cortoined in the BBWG Warranty Document sha'l be the exctusive and only obligations assumed by BBWG. We further
uncerstans tha TRCC required warranty shall be effective as required by the TRCC and is the sole responsibitity of the
: Builder. However. the warranty to be issued by BBWG from this application shall only become effective upon satis‘: story

. completion of BBWG's risk management and enroliment recuitaments
t

Use this formul

[ wannanrvFeE CALCULATION. }
! this Application. Record the feo calculated in the space provided on the front of the application.

i Closing Contact Prica’ $0, oe RVZ6 HH ONHO LO e000 xRate$ os
{ “fen G16 an front or Buikter’s Warranty Gest whnchaver es fsx

i

¢.. eens coe * FRAVARural Dev. Feo (if applicable} $ wae. = Warranty Enroliment Fee $

4

| APPLICATION SUBMISSION CHECKLIST fe

Ptoase uso this chocklist (0 submit 9 completo application. Missing information wit 7
1 delay issuance of the Warranty Documents.
Satected Wareanty Plan < Homecane-(s) Signed Appfcation
': Progded Closirg Date 3 Butléer Signed Application
i Provided Closing Contract Price (inching tt) ) Provided a copy of this Apptcanen to the Hameowner

i

| it Submitted Warranty Enrotiment Fee

HD Included Builder RM # (sequired for all homes wost of the Miss. River andi KY, MS & TN)
!

fa to calculate the ‘appropriate Warranty Enroliment Feo to submit with -

Ql
Case 2:09-md-02047-EEF-MBN Document 428-6 Filed 11/10/09 Page 3 of 9
Sunrise Construction & Development LLC SAD

62250 West End Blvd
Slidell LA 70461
Phone: 985-649-9500 Fax: 985-649-9600
ADDRESS REPORT 12-Oct-09
Address: 15190 Westin Cove For Open Dates: Between 5/29/1982 and 10/12/2009
LIST SOURCE VENDOR REQUEST SCHEDULE DUE COMPLETE AGE
Address Community Lot Job Sold Warranty Total Orders 19
15190 Westin Cove WIND ROSE 163 26/07 —- 2/16/08
Perry, Timothy H: 1 228 234 -9142 C: 1 228 234 -9142
Perry, Tracy H: 1 228 234 -9142 C: 1 228 239 -7628
[COMPLETE [19 ] |JAVERAGE 36 DAY RESPONSE J {0-7 Days] 3] | 814Days} 5] [ Over 14 Days| 11]
34039-001 BO DAY SUNRISE HOMES WARRANTY DEPT.: INT 3/9/07 5/4107 S/4107 SI4/07__ 56
-NONE- 8:30AM [COMPLETE

60 DAY WARRANTY LIST REVIEW

KITCHEN GROUT: #251 CANVAS

{PAINT:_ MUSHROOM BASKET - ORANGE PEEL

3/9/2007 8:55:52 AM 07: FAXED TO DAN. LETTER TO HO...KIM
4/10 PER OAN, HE MUST RESCHEOULE THIS. KM

4/30 RESCHEDULED 5/4. KM

5/9 SIGN OFF IN FILE. KM

34294-001_ MISC. WARRA COMPTON APPLIANCES: HVAC1 4{5107 4/10/07 4Nolo? 40/07 5
-NONE- 8:00AM [COMPLETE

HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.
1. BOTH UNITS ARE NOT COOLING PROPERLY. UNITS ARE NOT SHUTTING OFF.

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE.

4/5/2007 1:15:59 PM 05:FAXED TO COMPTON'S. LTR TO H.0..PB
04/09 PER ANGIE, SCHEDULED FOR 04/10 @ 8:00 AM...KIM
4/12 COMPLETE PER H/O. CONF. LETTER. KM

34344-001 MISC. WARRA COMPTON APPLIANCES: HVAC1 413/07 4117107 417107 4117107 4
-NONE- COMPLETE
HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.

1, UPSTAIRS AC UNIT IS NOT WORKING AGAIN. THIS WAS FIXED
ON 4/10 BUT IS NOT WORKING AGAIN.

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE.

4/13/2007 10:46:42 AM 02: FAXED TO COMPTON. LETTER TO H/O. KM
4/16 WENT OUT SAT. GOT UP AND RUNNING BUT WILL RETURN ON 4/17 TO COMPLETE. KM
4/18 COMPLETE PER ANGIE, CONF. LETTER THIS DATE. KM

34528-002 MISC. WARRA A1 FLOORING SUPPLIES & STORAGE, INC.: FL6 5/9/07 8/2/07 6/19/07 8/2/0785

-NONE- COMPLETE
HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.

1. LOOSE CARPET ON STAIRS.
2. LOOSE TILE INSIDE FRONT DOOR.

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE

5/9/2007 12:44:52 PM Karen Moore: FAXED TO A1. LETTER TO H/O. KM

0S/15 PER CHRIS; JOE IS WORKING ON STATUS AND WILL GET TO ME LATER TODAY OR
TOMORROW....IKIM

05/22 PER CHRIS, WILL BE DONE BY THE END OF THE WEEK. WILL CALL ME WHEN FINISHED...KIM
05/30 PER CHRIS, WAITING ON PAPERWORK FROM INSTALLER. WILL CALL WITH STATUS BY THE

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ADDRESS REPORT 12-Oct-09
Address: 15190 Westin Cove For Open Dates: Between 5/29/1982 and 10/12/2009

LIST SOURCE VENDOR REQUEST SCHEDULE DUE COMPLETE AGE

END OF THE DAY...KIM ~
06/06 PER CHRIS, INSTALLERS TRUCK BLEW UP. WON'T BE ABLE TO GET TO UNTIL NEXT WEEK...KIM
06/14 SPOKE WITH CHRIS, WILL CHECK WITH INSTALLER FOR STATUS AND CALL ME BACK..KIM
06/20 SPOKE WITH CHRIS, INSTALLERS TRUCK HAS BEEN BROKEN AND HE SHOULD BE GETTING IT
BACK THIS AFTENOON. PROMISED TO HAVE HIM COMPLETE ALL SERIVCE REQUESTS THIS WEEK.
WILL CALL ME WITH SCHEDULE DATES...KIM

06/26 PER CHRIS, STILL TRYING TO CONTACT HO. HAVE LEFT MESSAGES. WILL TRY TO SCHEDULE
FOR THURSDAY OR FRIDAY OF THIS WEEK....KIM

07/10 PER CHRIS, INSTALLER QUIT AND THEY HAD TO HIRE A NEW ONE. HE [S CALLING HO TO
SCHEDULE...KIM

07/17 REQUESTED UPDATED STATUS FROM CHRIS...KIM
07/17 PER CHRIS, SCHEDULED 077/24...KIM

07/27 PER CHRIS, KEN (INSTALLER) WILL BE INTHIS AFTERNOON AND SHE WILL GET BACK TO ME
WITH UPDATES THEN....KIM

07/31 CHRIS NO LONGER WORKING FOR A1, SENT LIST OF OPEN SERVICE REQUESTS. SANDY TO
GET BACK TO ME WITH STATUS...KIM

08/01 PER SANDY, NOT SURE OF STATUS. WILL VERIFY WITH INSTALLER AND LET ME KNOW
STATUS...KIM

08/02 PER SANDY, CARPET IS DONE. TRIED TO FINISH TILE YESTERDAY BUT NO ADULTS WERE
HOME. SCHEDULED TO FINSIH TILE TODAY. WILL FAX IN SIGN OFF WHEN FINISHED....KIM
08/06 REC'D HO SIGN OFF. {N FILE...KIM

34528-001 MISC. WARRA SUNRISE HOMES WARRANTY DEPT.: INT 5/9/07 5125/07 5/25/07 5/25/07
-NONE- 8:00AM [COMPLETE
HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.

16

1. DRAWER FRONT IN MASTER BATHROOM NEEDS TO BE ADJUSTED

2. CHIPPED CONCRETE ON FRONT PORCH

3. CHIPPED CONCRETE AT END OF DRIVEWAY

4. LOW AREA TIRE TRACKS IN REAR LEFT CORNER OF BACK YARD

Ss. ADJUST ATTIC ACCESS DOOR

5/9/2007 42:40:39 PM 02: FAXED TO DAN TO SCHEDULE. LETTER TO H/O. KM
5/44 SCHEDULED 6/25. KM

5/30 SIGN OFF IN FILE. KM

34528-003 MISC. WARRA LIGHTHOUSE MARBLE: MARBLE/MS 5/9/07 8/14/07 5/25/07 8/14/07 97

-NONE- {COMPLETE |

HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.

1. PER SUNRISE INSPECTION, VANITY TOP IN MASTER BATHROOM
1S BOWED.

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE.

5/9/2007 12:49:49 PM Karen Moore: PER DAN, WAY OUT OF TOLERANCE. FAXED TO LIGHTHOUSE.
LETTER TO H/O. KM

05/23 REC'D CALL FROM CINDY, HAS SALESMAN GOING OUT ON FRIDAY TO INSPECT...KIM

06/01 PER MARY, CINDY NO LONGER THERE. MARY WILL CHECK ON STATUS AND CALL ME
BACK...KIM

06/01 REC'D A CALL FROM MARY; SALESMAN WENT OUT TO LOOK AT IT BUT THE GENERAL
MANAGER ALSO WANTS TO LOOK AT IT. HAS NOT TIME SET UP YET. REMINDED HER THAT THIS
HAS BEEN ISSUED SINCE 05/09 AND HE NEEDS TO GO OUT AS SOON AS POSSIBLE. SAID SHE
WOULD MAKE THEM AWARE OF THAT...KIM

06/20 CALLED AND SPOKE WITH MARY. WILL CHECK WITH MANAGER AND HAVE HIM CALL ME
BACK...KIM

06/29 SPOKE WITH KAY, SHE WILL CHECK WITH MARY AND CALL ME BACK...KIM

06/29 PER KAY, THEY HAVE ATTEMPTED TO CONTACT HO SEVERAL TIMES WITH NO RESPONSE.
SENT ATT TO SCHEDULE LETTER....KIM

07/17 PER KAY, DOESN'T THINK THEY HAVE HEARD FROM MR. PERRY. WILL VERIFY AND CALL ME
BACK AFTER LUNCH...KIM

07/18 PER KAY, HAVE REC'D A CALL FROM HO. DOESN'T HAVE IT SCHEDULED YET. PLANT
MANAGER WILL GO OUT AND INSPECT...KIM

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ADDRESS REPORT 12-Oct-09
Address: 15190 Westin Cove For Open Dates: Between 5/29/1982 and 10/12/2009

LIST SOURCE VENDOR REQUEST SCHEDULE DUE COMPLETE AGE

07/24 PER KAY, DOSEN'T THINK THE PLANT MANAGER HAS GONE OUT BUT WILL GHEGK ON STaTUS
AND CALL ME BACK. INFORMED HER THIS ONE HAS BEEN ISSUED SINCE 05/09, IT NEEDS TO BE
WRAPPED UP ASAP...KIM

07/25 REC'D CALL FROM MIKE AT LIGHTHOUSE MARBLE. HE WILL MAKE ANOTHER VANITY TOP AS IT
IS BOWED, BUT BEFORE IT AN BE INSTALLED. ON THE RIGHT END, HE TOOK A LEVEL AND THERE IS
A DEFINTE HUMP IN THE MIDDLE OF THE CABINETS WHERE THEY COME TOGETHER. MIKE ALSO
NOTED THERE IS A CHIP IN THE MIRROR AND IT WILL HAVE TO BE TAKEN DOWN BEFORE THE
COUNTERTOP CAN BE INSTALLED. CALLED DAN, SAID HE COULD FIX THE CABINETS AND TAKE THE
MIRROR DOWN. PER DAN, A NEW MIRROR WILL HAVE TO BE PUT UP. SAID IT WAS NOTICED AT THE
WALK THROUGH AND THE HO SAID NOT TO WORRY ABOUT IT. NOW THAT THE MIRROR NEEDS TO
BE TAKEN DOWN, A NEW ONE NEEDS TO BE PUT UP. PER PEGGY, ISSUE MIRROR TO GUARDIAN
WITH REQUEST FOR PRICE. ISSUED IWO FOR CABINET REPAIR. NOTIFY MIKE AT LIGHTHOUSE
WHEN CABINET REPAIR AND MIRROR HAS BEEN TAKEN DOWN. CALLED MIKE, WILL PULL THE TOP
TOMORROW AND IT WILL TAKE ABOUT A WEEK TO GET IT READY. ASKED THAT DAN COORDINATE
WITH HIM SO HO WILL BE OUT AS LITTLE AS POSSIBLE....KIM

08/03 PER SHELIA, IS IN THE MFG PROCESS NOW. WILL NOTIFY ME WHEN COMPLETE. THEY ARE
TO COORDINATE WITH SUNRISE DAN FOR INSTALLATION...IM

08/09 LM W/SHELIA FOR STATUS OF COUNTERTOP..KIM

08/14 SCHEDULED 08/14...KIM

08/28 SPOKE WITH KAY, NOT SURE OF STATUS. WILL CHECK ON IT AND CALL ME BACK

SHORTLY...KIM
08/28 PER KAY, COMPLETE 08/14. CONFIRMATION LETTER TO HO...KIM
34558-001 MISC. WARRA__ COMPTON APPLIANCES: HVAC1 5/11/07 5/18/07 5/21/07 10
-NONE-

[COMPLETE |
[HOMEOWNER REPORTS THE FOLLOWING; INSPECT AND REPAIR AS NEEDED:

DOWNSTAIRS A/C NOT BLOWING COLD AIR ****"A/C SUB HAS DETERMINED A/C UNIT HAS 20 AMP
BREAKER AND SHOULD HAVE 25 AMP BREAKER*****
*"*05/14 - PER ELECTRICAN, NOT THE BREAKER***

letesse CONTACT HOMEOWNER DIRECTLY TO SCHEDULE
5/11/2007 3:29:16 PM 07: REC'D CALL FROM ANGIE AT COMPTONS. HO CALLED THEM DIRECTLY,

TECH WENT OUT AND FOUND THAT A/C HAS 20 AMP BREAKER AND SHOULD BE 25 AMP. FAXED TO
JAY SHOWS. CALLED LM FOR JAY SHOWS WITH CONTACT NUMBERS FOR HO: REQUESTED
CALLBACK THAT THEY RECEIVED THIS MESSAGE. LETTER TO HO...KIM

5/11 - SPOKEN TO JAY, GOING OUT THERE TODAY TO CHANGE OUT BREAKER, ADVISED H.O..PB
05/14 REC'D MESSAGE FROM JAY SHOWS, STATED UNIT IS RUNNING CONTINUOUSLY AND
BREAKER EXCEEDS WHAT UNIT NEEDS. MUST BE SOME OTHER PROBLEM. RE-ISSUED BACK TO
COMPTON'S. FAXED TO COMPTON'S. TALKED TO ANGIE, WILL CALL HO TODAY...KIM

05/14 LM W/ANGIE FOR STATUS...KIM

05/17 PER ANGIE; WENT BACK OUT 05/15. NO ONE WAS HOME. IS SCHEDULED FOR TOMORROW
O5/18...KIM

05/18 REC'D CALL FROM CATHERINE AT JAY SHOWS, REQUESTED A PO AS THEY WENT OUT ONA
FRIDAY NIGHT AND FOUND IT WAS NOT AN ELECTRICAL PROBLEM. CHARGE IS $80.25. INFORMED
HER | HAD TO SPEAK WITH PEGGY BEFORE ISSUING PO...KIM

05/18 PER NANCY; WENT OUT AGAIN TODAY AND NO ONE WAS HOME. SENT ATT TO SCH

LETTER....KIM
05/22 PER ANGIE, COMPLETED YESTERDAY. REPLACED BREAKER. CONFIRMATION LETTER TO
HO...KIM

34701-001 MISC. WARRA COASTAL PLUMBING: PLB7 5/30/07 6/9/07 = G4/07_— 5

-NONE- iCOMPLETE
HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.

1, PER SUNRISE INSPECTION, WATER LEAK AT SHUT OFF VALVE IN
SIDE YARD. AREA STAYS WET.

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE
5730/2007 7:03:45 AM 02: FAXED TO JOEY. LETTER TO H/O. KM

06/04 PER JOEY, COMPLETED TODAY. FEMALE ADAPTER TO COPPER CONNECTION HAD CRACK.
[REPLACED, CONFIRMATION LETTER TO HO...KIM

35252-0011 MISC. WARRA SUNRISE HOMES WARRANTY DEPT.: INT 725/07 8/14/07 8/14/07 8/14/0720

-NONE- 8:00AM [COMPLETE |

HOMEOWNER REPORTS THE FOLLOWING; INSPECT AND REPAIR AS NEEDED:

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ADDRESS REPORT 12-Oct-09
Address: 15190 Westin Cove For Open Dates: Between 5/29/1982 and 10/12/2009

LIST SOURCE VENDOR REQUEST SCHEDULE DUE COMPLETE AGE

1. REPAIR HUMP IN MASTER BATHROOM CABINET FOR REPLACEMENT VANITY TOP TO BE
INSTALLED BY LIGHTHOUSE MARBLE.**PLEASE COORDINATE SCHEDULE DATE WITH MIKE FROM
LIGHTHOUSE AT 228-392-3038°"*

2. REMOVED MASTER BATH MIRROR. (TO BE REPLACED BY MIRROR SUB)
PAINT: MUSHROOM BASKET - ORANGE PEEL

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE

7/25/2007 10:15:21 AM 07: FAXED TO DAN. LETTER TO HO...KIM

8/10 SCHEDULED 8/14. KM

8/14 COASTAL IS NOT AVAILABLE TO HELP. MYERS PLUMBING IS GOING OUT OF BUSINESS
ODAY...KM

8/15 SIGN OFF IN FILE. KM

35252-002 MISC. WARRA WILSERV: SHELVES4 7/25/07 8/4/07 9/14/07 51
-NONE- COMPLETE

HOMEOWNER REPORTS THE FOLLOWING; INSPECT AND REPAIR AS NEEDED:

REPLACE MASTER BATHROOM MIRROR THAT WILL BE TAKEN DOWN FOR VANITY REPAIR.
***CONTACT KIM WITH PRICE FOR PO***

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE
7125/2007 10:21:12 AM: FAXED TO GUARDIAN, LETTER TO HO...KIM

07/26 REC'D EMAIL FROM ROD; COMPANY WILL BE WILSERVE, THEIR CONTACT WILL BE DAVID
MOREHEAD AT 985-960-3451 DEAN SHOULD HAVE THEM ENTERED IN COMPUTER BY 07/26. PER
RDD, ISSUED WITH REQUEST FOR PO....KIM

07/30 PER JENNIFER, DEAN DOES NOT HAVE A SIGNED CONTACT WITH WILSERVE YET, IT SHOULD
BE IN ABOUT A WEEK OR SO...KIM

08/02 PER SUNRISE JENNIFER, WILSERVE DOESN'T DO MIRRORS. AT THIS TIME THEY HAVE NO
ONE ELSE BUT SHOULD SHORTLY AND WILL LET ME KNOW...KIM

08/09 PER KAY AT LIGHTHOUSE, VANITY IS SCHEOULED TO BEGIN ON TUESDAY 08/14...KIM

08/15 EMAILED JENNIFER SAWYER, "Did we ever come up with a sub for the mirrors?”...KIM

08/15 REC'D EMAIL FROM JENNIFER, “According to Dean, he should have infermation together for a mirror
subcontractor later on today. | will get it to you as soon as | receive Il.". EMAILED BACK, “I have an open

service request | need to assign to a sub. It is one we have to Pay for and Guardian is not interested in doing
it.” ....KIM

Morehead. They will be doing Shelving, Mirror, and Bath Accessories for all sites." EMAILED PEGGY, “Can
you the information into punchlist for the new mirror sub? See Jennifer's email below. t have a service request
that is 21 days old that 1 need to issue."....KIM

08/17 ISSUED TO WILSERV WITH REQUEST FOR PRICE. FAXED TO WILL SERVE. LETTER TO
HO....KIM

09/17 PER ANDREA, NOT SCHEDULED YET....KIM
09/17 PER ANDREA, CALLED AND LM FOR HO TO SCHEDULE....KIM

09/25 REC'D CALL FROM DAVID, COMPLETE. INSTRUCTED DAVIO TO SEND AN ORIGINAL COPY OF
INVOICE FOR PAYMENT. CONFIRMATION LETTER TO HO....KIM

35442-001 MISC.WARRA COASTAL PLUMBING: PLB7 8/13/07 8/14/07 10/22/07 70
-NONE- [COMPLETE
[FURNISH QUOTE TO WARRANTY DEPARTMENT ON THE FOLLOWING:

1. INSPECT PLUMBING CONNECTION IN MASTER BATHROOM
WHERE SUNRISE WARRANTY INSTALLED VANITY TOP.

**ADDED 8/15/07°*

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ADDRESS REPORT 12-Oct-09
Address: 15190 Westin Cove For Open Dates: Between 5/29/1982 and 10/12/2009

LIST SOURCE VENDOR REQUEST SCHEDULE DUE COMPLETE AGE

2. REPLACE BROKEN POP-UP ON FAUCET THAT WAS BROKEN
WHEN VANITY TOP WAS REMOVED. THIS IS THE POP-UP HANDLE
FOR DRAIN PLUG.

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE

8/13/2007 3:41:18 PM 02: FAXED TO JOEY. KM

08/14 PER JOEY REQUEST, FAXED LIST OF OPEN ITEM WITH REQUEST FOR UPDATE....KIM

8/14 PER JOEY, HE WILL REINSTATE WARRANTY AFTER HIS INSPECTION. KM

08/23 PER JOEY, NOT COMPELTE. WILL TRY AND SCHEDULE FOR WEDNESDAY 08/29 WHEN HE JS IN
THE SUBDIVISION....KIM

08/30 PER JOEY, NOT SCHEDULED YET....KIM

09/27 REQUESTE STATUS FROM JOEY...KIM

10/11 REQUESTED STATUS FROM JOEY...KIM

10/16 PER ROD, SENT ATT TO SCHEDULE LETTER ANDO PUT COASTAL (JOEY) CONTACT NUMBER IS
LETTER....KIM

10/24 PER JOEY, COMPLETE 10/22. REPLACED BROKEN POP-UP, TIGHTENED AND INSPECTED
[EVERYTHING. ALL OK. CONFIRMATION LETTER TO HO...KIM
35469-0041 MISC. WARRA SUNRISE HOMES WARRANTY DEPT.: INT 8/15/07 8/25/07 12/4/07 111

-NONE- {CLOSE LETTER 12/4
{PER SUNRISE INSPECTION:

1. TOUCH UP PAINT AND CAULK AFTER NEW MIRROR IS INSTALLED
IN MASTER BATHRCOM. MUSHROOM BASKET
8/15/2007 3:38:27 PM 02: DAN TO SCHEDULE. LETTER TO H/O. KM
leita REFAXED TO DAN. KM
9/14 PER DAN, HE CANNOT SCHEDULE THIS UNTIL THE MIRROR COMPANY HAS COMPLETED THEIR
SV. REQ. KM
10/10 MIRROR ISSUE {S COMPLETE. WILL NOTIFY DAN. KM
11/12 PER DAN, SEND ATTEMPT TO SCH. LETTER. KM
12/4 CLOSE LETTER PER RDD. KM
36042-001 MISC. WARRA COMPTON APPLIANCES: HVAC1 10/19/07 10/29/07 11/1/07 13

-NONE- COMPLETE |
[HOMEOWNER REPORTS THE FOLLOWING; INSPECT AND REPAIR AS NEEDED:

jDOWNSTAIRS AIC HAS FROZEN UP

CONTACT HOMEOWNER DIRECTLY TO SCHEOULE

10/19/2007 1:28:06 PM 07: REC'D CALL FROM MR. PERRY. FAXED TO GOMPTONS. LETTER TO
HO...KIM

10/22 PER ANGIE, WAS ON THE BOARO FOR TODAY. TECH NOT BACK YET. WILL LET ME KNOW
TOMORROW IF COMPLETE....KIM

10/23 PER ANGIE, HAS TO SEND THEIR DUCT GUY, MIKE, OUT THERE. THE SUPPLY PLENUM IS
FALLING OFF. DOESN'T HAVE A SCHEUDLE DATE AT THIS POINT, IT IS WHENEVER THEY CAN
WORK IT INTO THEIR SCHEDULE....KIM

10/30 ANGIE IS OUT SICK, WON'T BE BACK UNTIL FRIDAY. PER KARI, WILL HAVE TO CHECK WITH
MIKE ON STATUS AND CALL ME BACK.....KIM

11/01 PER ANGIE, COMPLETED 10/25. REPAIRED SUPPLY PLENUM, CONFIRMATION LETTER TO
HO...KIM

36624-001 MISC. WARRA A1 FLOORING SUPPLIES & STORAGE, INC.: FL6 12/27/07 1/8/08 1/6/08 1/8/08 12

-NONE- [COMPLETE
[HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIRAS NEEDED.

1. PADDING IN MASTER BEDROOM CARPET IS MISSING IN AN AREA OF THE FLOOR.

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE.
12/27/2007 1:48:55 PM 05:FAXED TO A1. LTR TO H.0..PB
10/03 PER JAIME, A1 HAS BEEN CLOSE FOR THE HOLIDAYS. JUST REOPENED YESXTERDAY. LEFT

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ADDRESS REPORT 12-Oct-09
Address: 15190 Westin Cove For Open Dates: Between 5/29/1982 and 10/12/2009

LIST SOURCE VENDOR REQUEST SCHEDULE DUE COMPLETE AGE

MESSAGES FOR HOMEOWNER ON ALL THREE NUMBERS. WAITING ON CALL BACK. ”KIM
01/03 PER JAIME, SCHEDULED FOR TUESDAY, 01/08 IN THE MORNING... KIM
1/8 - PER JEREMY, THERE WAS A SMALL HOLE IN CONCRETE SLAB AND THE PAD WAS SUNKEN

36553-0022. = MISC. WARRA SUNRISE HOMES WARRANTY DEPT. INT 1/3/08 2/5/08 2/5108 21510833
-NONE- 8:30AM [COMPLETE
HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.

1, REPAIR CEILING DAMAGES IN UTILITY ROOM AND UPSTAIRS BEDROOM. (MUSHROOM - ORANGE
PEEL)

P*PLS SCHEOULE AFTER ROOF REPAIRS HAVE BEEN MADE**

1/3/2008 1:28:29 PM Peggy Brown:FAXED TO DAN. LTR TO H.O..PB

1/11 SHINGLES HAVE BEEN ORDERED FOR ROOF REPAIR WHICH SHOULD BE DONE WEEK OF 1/14
PER HANSON CONSTRUCTION. KM

115 SCHEDULED 1/29. KM

129: RESCHEDULED FROM 1/29 TO 2/5. KM

2/7-COMPLETED, SIGN OFF IN FILE-RDD

36553-001 MISC. WARRA HANSON CONSTRUCTION: rf14 1/3/08 113/08 1/19/08 16
-NONE- {COMPLETE

[HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.

1. ROOF LEAKING IN UTILITY ROOM AND UPSTAIRS BEDROOM.

{CONTACT HOMEOWNER DIRECTLY TO SCHEDULE.

1/3/2008 1:26:24 PM 05:FAXED TO BRIAN HANSON AT THE SALES OFFICE. LTR TO H.O..PB

1/8 - PER H.O., THEY HAVE NOT HEARD FROM ROOFER YET. L/M FOR BRIAN. CHUCK ADVISED ME
TO FAX TO 228-831-0731 AND THAT THIS WILL BE TAKEN CARE OF TODAY..PB

1/10 - PER CHUCK, SHINGLES HAVE BEEN ORDERED BY JOHN P. UPON RECEIPT OF SHINGLES
(NEXT WEEK) THIS WILL BE DONE..PB

1/15 - PER JOHN P. SHINGLES WILL BE IN 2 DAYS AND THEN HE WILL CONTACT CHUCK..PB

1/21 - PER CHUCK, THIS HAS BEEN COMPLETE. L/M FOR H.O. CONF LTR TOH.O..PB

36801-001 MISC. WARRA SUNRISE HOMES WARRANTY DEPT.: INT 2/8/08 2/19/08 2/19/08 2/19/08 11
-NONE- 8:00 AM [SIGNED OFF
HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.

1. BAD BALLAST IN KITCHEN LIGHT FIXTURE.

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE.
2/8/2008 2:08:58 PM 05:FAXED TO DAN. LTR TOH.O..PB
2/13-DAN NEVER RECEIVED. RE-FAXED THIS DATE-RDD
2/14 SCHEDULED 2/19. KM

2/19 SIGN OFF IN FILE. KM

36801-002 MISC, WARRA COASTAL PLUMBING: PLB7 2/8/08 2/19/08 2/18/08 2/19/08 11
-NONE- [COMPLETE |
HOMEOWNER REPORTS THE FOLLOWING: INSPECT AND REPAIR AS NEEDED.

1, POWER ROOM TOILET CONTINUES TO RUN WHEN FLUSHED,
**ADD 2/13/08**
2. SHOWER MAKES KNOCKING SOUND WHEN USED.

CONTACT HOMEOWNER DIRECTLY TO SCHEDULE.

2/8/2008 2:11:33 PM Peggy Brown:FAXED TO COASTAL. LTR TO H.O..PB

2/13 - SPOKE TO JOEY?? & HE HAS TALKEO TO REBECCA ABOUT THIS YESTERDAY...PAM
2/18 - PER JOEY SCHEDULED 2/19...PAM

[2/25 - PER JOEY, COMPLETE. CONF LTR TO H.O..PB

37902-001 MISC. WARRA SUNRISE HOMES WARRANTY DEPT.: INT 8/8/08 8/18/08 10/10/08 63
-NONE- (CLOSED
PER SUNRISE INSPECTION BY DAN:

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ADDRESS REPORT 12-Oct-09
Address: 15190 Westin Cove For Open Dates: Between 5/29/1982 and 10/12/2009

LIST SOURCE VENDOR REQUEST SCHEDULE DUE COMPLETE AGE

1. MAKE NECESSARY CEILING REPAIRS IN BEDROOM OVER BED

AREA DUE TO HEATER VENT ON ROOF LEAKING.
8/8/2008 1:25:29 PM 02: ORIGINALLY ISSUED ON 8/6 UNDER W/O 37873-001 AND WAS LOST. PER
DAN, MR. PERRY IS NOT READY TO SCHEDULE THIS HE IS NOTIN A HURRY. H/O WILL CALL DAN
NEXT WEEK TO SCHEDULE. KM
9/23/08 PER DAN, MR. P. HAS NEVER CALLED HIM BACK, ATTEMPT TO SCH. LTR. THIS DATE, KM
10/14/2008-CLOSED, H.O. NEVER RESPONDED TO ATTEMPT TO SCHEDULE LTR.-RDD

GRAND TOTALS:
COMPLETE: 19 AVERAGE 36.26 DAY RESPONSE
INCOMPLETE: 0 AVERAGE AGE #Num! DAYS

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